1    STATE OF ILLINOIS)
                                           ) ss
2    COUNTY OF COOK                        )
3                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                   · COUNTY DEPARTMEN-T, CRIMINAL DIVISION
4
     PEOPLE OF THE STATE                                       )
5    OF ILLINOIS                                               )
                                                  Plaintiff    )
 6                                                             )
                                                               )
 7                        vs                                   ) Number 92 CR 19459
                                                               )
 8   KEITH L. MITCHELL                                         )
                                                               )
 9                                                 Defendant   )

10                                               REPORT OF PROCEEDINGS, taken in the

11   above-entitled cause, taken before the HONORABLE

12   THOMAS J. HENNELLY, Judge of said Court, taken on

13   Monday, December 14th, 2015.

14   APPEARANCES:
                                     HONORABLE ANITA ALVAREZ
15                                   Cook County State's Attorney
                                     BY: MS. CELESTE STACK
16                                        MS. LINDA WALLS
                                          MR. KURT SMITKO
17                                   Assistant State's Attorneys
                                     Appeared on behalf of the People
18
                                     MS. GAYLE HORN
19                                   MS. TARA THOMPSON
                                     Attorneys At Law
20                                   Appeared on behalf of the Defendant
                                     Keith L. Mitchell
21

22   VERNITA HALSELL-POWELL, CSR
     O££icial Court--Reporter -······· _
23   2650 South California Avenue
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                                                      1
 1       A.     Whatever date it was, yes.

 2       Q.     And turning to X-36 lines 16 through 20,

 3   were you asked this question, did you give this

 4   answer:

 5    .ds off

 6                         "Q.      You say that after you had

 7                           this conversation with Keith

 8                           Mitchell and he denied any

 9                           involvement and you told him that

10                           it didn't seem right, is that

11                           correct?

12                           A.     Something to that effect,

13                           yes."

14   Do you recall being asked that question and giving

15   that answer?

16       A.     I   read that.      I   don't remember the
17   conversation.

18       Q.     You don't have any reason to dispute what's
19   in the transcripts, right?

20       A.     No, ma'am.

21       Q.     Did Keith Mitchell confess at any time while

22   his mom was in the interrogation with you?
23       A.     No.

24       Q.     How many times did you see the Assistant


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       1   State's Attorney go in and speak with Keith Mitchell?

       2       A.      I don't know if I was paying attention.       We

       3   were up for some 30 some hours at that point.       There

       4   was so much going on, witnesses, offenders, paperwork.

       5   So I didn't handle it, so I don't know.

       6       Q.      But you prepared a supplemental report,

       7   right?

       8       A.      Yes, I did.

       9       Q.      Okay.   And in that supplemental report you
      10   referred to an ASA Sullivan.        Do you know who ASA
.·•

      11   Sullivan is?

      12       A.      I   think that was clarified in the
      13   transcripts, that was written in error.
      14       Q.      Okay.    So how many times -- would a copy of
      15   your supplemental report refresh your recollection
      16   about how many times Sharon Jefferson spoke with Keith
      17   Mitchell?

      18       A.      Not being present with the State's Attorney
      19   probably don't.       I   honestly didn't.
      20       Q.      Were you present for the conversation when
      21   Keith Mitchell confessed?
      22       A.      No.
      23       Q.      Sir, do you recall giving testimony at Keith
      24   Mitchell's Motion to Suppress?


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1       A.     No, I don't.

2       Q.     Well, were you asked this question and did

3    you give this answer?     Page L-36 lines 1 through 4:

4                          "Q.  You say the youth officer,
                            that officer Steven was present
5                           when Keith Mitchell allegedly
                            confessed, is that correct?
 6                          A.  He did confess and I was
                            present."
 7
 8   Do you recall being asked that question and giving

 9   that answer?

10       A.    No.

11       Q.    So you were present for the confession of

12   Keith Mitchell?

13       A.    I don't remember talking to him.

14       MS. STACK:    What page was that?

15       MS. HORN:     L-36.

16       Q.    So you were present for the confession of

17   Keith Mitchell?

18       A.    I have no idea.       I don't think so.

19       Q.    You gave testimony under oath, correct?

20       A.    Unless I misspoke, I'm just referring to the

21   statement made to Miss Jefferson and my partner.

22       Q.    So you misspoke when you said I was present?

23       A.    I'm guessing again, counselor.       I don't

24   remember the conversation with him.       I don't think I



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 1   was present for that.      I know initially I said that I

 2   advised him of his rights and he made denials.

 3       Q.      This question was actually, were you present

 4   when Keith Mitchell allegedly confessed, right?

 5       A.      That's what it says, that's what it says.

 6       Q.      And the testimony that you gave at Keith

 7   Mitchell's Motion to Suppress, that was a lot closer

 8   in time to when these events occurred, right?

 9       A.      Unless I misspoke and he did confess with

10   the youth officer there.

11       Q.      Okay.   Was Keith Mitchell's mother present

12   for the confession?

13       A.      I wasn't present for that, but I don't

14   believe so.

15       Q.      Well, sir, according to your testimony in

16   1994, you were, in fact, present for Keith Mitchell's

17   confession, right?

18       A.      I don't remember.

19       Q.      You don't have any reason to dispute what's

20   in the record, do you?

21       MS. STACK:      Objection.

22       THE COURT:      Sustained.

23       Q.      Do you recall when Keith Mitchell was
24   arrested?



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 1          Q.   Mr. McDermott, prior to your testimony

 2   today, did you review your testimony that you gave at

 3   Mr. Mitchell's various proceedings?

 4          A.   Yes, part of it.    I don't know if I went

 5   through everything, but just the transcripts of what I

 6   testified to.

 7          Q.   So, you read the transcripts of what you had

 8   testified to, right?

 9          A.   Yes, ma'am.

10          Q.   Did you review the police report?

11          A.   No.

12          Q.   You've had an opportunity to review them on

13   the witness stand?

14          A.   I mean I didn't read in-depth.    You pointed

15   out certain sections and I looked at it.

16          Q.   As you sit here today, you don't have any

     memory of

18   you?

19          A.   No.

20          Q.   Do you remember what desk you were sitting
21   at?

22          A.   We weren't assigned desks, so.
23          Q.   Do you remember what desk you were sitting

24   at when Keith Mitchell was in the interrogation room?



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 1   told them I don't know who it is.

 2       Q.    And sir, you were asked whether or not you

 3   ever participated in any abuse or torture of eight

 4   individuals during your federal grand jury testimony

 5   in September, 2008.    Do you remember that?

 6      A.     I didn't count the numbers, but there was no

 7   abuse or coercion.

 8       Q.    And so you deny to the extent that Mr.

 9   Carroll has made any allegations against you, you deny

10   those allegations?

11       A.    I -- not knowing what he said, but yes.     I

12   felt that I was professional in my job and I drew a

13   line at what I did and I did not abuse or coerce

14   people into confessions.

15       Q.    Did you detain Mr. Carroll for 16 hours?

16       MS. STACK:    Judge, objection.   He obviously can't

17   answer details like that as he said three times.

18       THE COURT:    I'll give you some leeway, Ms. Horn,

19   but, you know, you can probably ask a hundred

20   questions about Mr. Carroll and we're going to get the

21   same answer again.

22       MS. HORN:    That's fine, your Honor.   I just don't

23   want it to be a situation where he's--

24       THE COURT:    I'll let ask you a couple of


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 1       THE WITNESS:     I'm not sure what you conversed with

 2   my attorney now.

 3       Q.       So, are you aware that we tried to call him

 4   a number of times regarding testimony today?

 5       MS. STACK:     Asked and answered.   He just said he's

 6   not aware.

 7       Q.       Is that your testimony, you're not aware?

 8       A.       The only thing I understood was the court

 9   date like last month when there was like the --

10       THE COURT:       The answer may stand.

11       Q.       And you say that you take your oath

12   seriously when you testified, but you have admitted to

13   committing perjury, is that correct?
14       A.       No.

15       Q.       You admitted to committing perjury during

16   your federal grand jury testimony in the Jon Burge
17   trial, right?

18       A.       No.
19       Q.       You admitted that you lied under oath?
20       A.       I don't know what your talking about.
21       Q.       You admitted that during your grand jury

22   testimony in the federal trial of Jon Burge, you

23   admitted that you lied under oath, right?

24       A.       No.


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 1        Q.    You never admitted that you lied under oath?

 2        MS. STACK:   Asked and answered.

 3        THE COURT:    It's clear he says no.

 4        MS. HORN:    I'm done, your Honor.

 5        THE COURT:   Anything else?

 6        MS. STACK:   No.

 7        THE COURT:   The only thing I would like is that

 8   the record reflect Mr. McDermott's lawyer has been

 9   present the entire time.         Can I have your name for the

10   record, sir?

11        MR. BONAGURO:      Michael Bonaguro, B 0 N A G U R 0.
12        THE COURT:   Thank you, Mr. McDermott.       You may

13   step down, sir.

14        MS. THOMPSON:      Can we have Mr. McDermott and his

15   attorney step into the jury room before they leave so

16   we can address one matter?

17        THE COURT:    I was going to excuse him.      You want
18   me

19        MS. THOMPSON:      It's more his attorney not Mr.

20   McDermott, your Honor.

21        THE COURT:   Okay.

22             (Whereupon, the following was held outside
23              the presence of Mr. Bonaguro.}

24        MS. THOMPSON:      Your Honor, it's late and I hate to



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